
PRATT, J.
(dissenting in the Hughes Case). — There is no question that decedent died November 27, 1898. His disease was such that he was compelled to give up business about August 1, 1894. The disease was a painful one, which would render necessary the frequent services of a physician. It is proved that as early as 1890 he bought a catheter and a rubber urinal, — such articles as would be necessary in his disease. He was in easy circumstances, and it is inconceivable that he should not have availed himself of the services of a physician, and that extensively. There is no suggestion that any physician other than plaintiff was called. The mistress of the house where decedent lived testified that plaintiff was decedent’s physician; "that she frequently went for plaintiff, at decedent’s request, and saw him in attendance. On one occasion she saw an operation performed. The rendition of services to a large amount is conclusively proved, and there is no evidence to the contrary. The testimony of the boarding mistress, who also acted as’nurse, was not exposed to adverse criticism, except upon the ground that she herself had claim against the estate and might need the aid of this plaintiff to prove her case. We do not think that objection is entitled to much weight. The only question left in doubt is as to the amount plaintiff should recover. An error was committed in admitting evidence of the claim of Hamilton.
The judgment should be reversed, and a new trial had before a new referee; costs to abide the event.
